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                               EXHIBIT 1
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                                                                     Page 1

  1                            UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
  2                                 ALEXANDRIA DIVISION
  3
                     __________________________
  4                                            :
                     UNITED STATES OF AMERICA, :
  5                  et al.,                   :
                                               :
  6                         Plaintiffs         :
                                               :
  7                      v.                    : No.        1:23-cv-00108
                                               :
  8                  GOOGLE, LLC,              :
                                               :
  9                         Defendants.        :
                     __________________________:
 10
 11                              Tuesday, August 15, 2023
 12
                             Video Deposition of ALLEN OWENS,
 13
                     taken at the Law Offices of Paul, Weiss, Rifkind,
 14
                     Wharton & Garrison LLP, 2001 K St NW, Washington,
 15
                     DC, beginning at 9:37 a.m. Eastern Standard Time,
 16
                     before Ryan K. Black, Registered Professional
 17
                     Reporter, Certified Livenote Reporter and Notary
 18
                     Public in and for the District of Columbia
 19
 20
 21
 22
 23
 24
 25      Job No. CS6037511

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                                                     Page 142                                                    Page 144
      1          THE WITNESS: To the best of my                  1   is the only programmatic buyer that the Navy has
      2    knowledge, the only programmatic partner that the     2   utilized for programmatic marketing and
      3    Navy purchases marketing and advertising through      3   advertising.
      4    via our contract with VMLY&R is the Trade Desk.       4      Q. Okay.
      5    BY MS. GOODMAN:                                       5      A. That's my understanding.
      6       Q. Okay. So, to be clear, has VMYL&R, to           6      Q. Are you aware of any Google products
      7    your knowledge, ever used Google's product DV360      7   or services that VMLY&R could use to place
      8    to facilitate the placement of programmatic           8   programmatic ads on the internet on behalf of the
      9    display ads on behalf of the Navy?                    9   Navy?
     10          MR. MCBIRNEY: Objection; foundation.           10      A. Can you repeat the question?
     11          THE WITNESS: So I recall that                  11      Q. Are you aware of any Google product
     12    Google term, the SV or DV360; however, it's my       12   or service that could be used by VMLY&R to
     13    understanding that the only programmatic buying      13   purchase digital media on behalf of the Navy
     14    that has been done on our behalf -- on the Navy's    14   -- programmatic digital media on behalf of the
     15    behalf is with the Trade Desk.                       15   Navy?
     16    BY MS. GOODMAN:                                      16      A. The Navy utilizes VMLY&R to execute
     17       Q. Okay. And when you say "programmatic           17   purchases on our behalf, but we do not direct
     18    buying," I want to drill down a little bit more      18   them how to do so.
     19    specifically to programmatic display advertising.    19      Q. And so you don't direct them any
     20    So not programmatic connected TV, not                20   particular vendor to use. Is that accurate?
     21    programmatic online video, but programmatic          21         MR. MCBIRNEY: Object to form.
     22    display ads, okay? And so is the Trade Desk the      22         THE WITNESS: We -- the Navy does not
     23    only provider that has been used by VMLY&R to        23   direct VMLY&R to use any particular ad-buying
     24    purchase programmatic display ads on behalf of       24   method. We review their recommended plan and
     25    the Navy?                                            25   then approve it, or -- or suggest edits, for
                                                     Page 143                                                    Page 145
      1            MR. MCBIRNEY: Objection. Object to the        1   purchasing our -- our media on our behalf.
      2    form.                                                 2   BY MS. GOODMAN:
      3          THE WITNESS: To the best of my                  3      Q. So in the course of your work as the
      4    knowledge, the only programmatic buying that has      4   director of marketing for the Navy Recruiting
      5    been done on behalf of the Navy has been with         5   Command, are you aware of any Google product or
      6    -- I'm drawing a blank now on the -- the Trade        6   service that VMLY&R could use in order to place
      7    Desk. Sorry.                                          7   programmatic display ads on behalf of the Navy?
      8    BY MS. GOODMAN:                                       8         MR. MCBIRNEY: Object. Asked and
      9       Q. And within your answer, are you                 9   answered, and same to form.
     10    including programmatic display advertising           10         THE WITNESS: Not that I can recall.
     11    buying?                                              11   BY MS. GOODMAN:
     12       A. I am stating programmatic buying               12      Q. Okay. So do you know what DV360 is?
     13    overall.                                             13      A. Sitting here today, I do not.
     14       Q. Okay. So are you aware of any provider,        14      Q. Okay. Have you ever come across the
     15    other than the Trade Desk, that has been used by     15   term DV360 in the course of your work as the
     16    VMLY&R to purchase programmatic display ads on       16   COR supervising the VMLY&R contract?
     17    behalf of the Navy?                                  17      A. As stated earlier, that phrase -- I
     18          MR. MCBIRNEY: Object to the form.              18   recollect that phrase, but I don't recollect in
     19          THE WITNESS: My understanding is that          19   what context.
     20    any programmatic buying that has been done on        20      Q. And have you had any conversations with
     21    behalf of the Navy has been with the Trade Desk.     21   anybody at VMLY&R about whether to use DV360?
     22    BY MS. GOODMAN:                                      22         MR. MCBIRNEY: Object to form, and asked
     23       Q. And only in the Trade Desk, to your            23   and answered.
     24    knowledge, correct?                                  24         THE WITNESS: Not to my recollection.
     25       A. My understanding is that the Trade Desk        25         MS. GOODMAN: Mm-hmm.

                                                                                               37 (Pages 142 - 145)
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